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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                   8:16CR142

       vs.

JOSE MARTINEZ-PENA,                                                    ORDER

                      Defendant.




       NOW ON THIS 21st day of December, 2016, this matter comes on before the Court upon

the United States’ Motion to Vacate the Final Order of Forfeiture (Filing No. 81). The Court,

being duly advised in the premises, finds the motion should be sustained.

       IT IS THEREFORE ordered

       1. The United States’ Motion to Vacate the Final Order of Forfeiture is hereby sustained.

       2. Should it choose to do so, Wells Fargo Dealer Services shall file a Petition herein,

pursuant to Fed. R. Crim. P. 32.2(c), on or before January 31, 2017.

       3. After that date, the United States shall seek a Final Order of Forfeiture within the

parameters of Fed. R. Crim. P. 32.2.

Dated this 21st day of December, 2016.

                                                    BY THE COURT:



                                                     s/ Joseph F. Bataillon
                                                    Senior United States District Judge



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